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 8                    UNITED STATES DISTRICT COURT
 9                   CENTRAL DISTRICT OF CALIFORNIA
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11
12 OVERRATED PRODUCTIONS,                )   CV 19 2899 RSWL RAO
   INC.,                                 )
13                                       )
                Plaintiff,               )   FURTHER AMENDED JUDGMENT
14                                       )
                                         )
15       v.                              )
                                         )
16                                       )
   UNIVERSAL MUSIC GROUP                 )
17 RECORDINGS, INC., et al.,             )
                                         )
18                   Defendants.         )
                                         )
19                                       )
                                         )
20                                       )
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21                                       )
22       WHEREAS, on November 25, 2019, this Court GRANTED
23 [59] Defendant Universal International Music B.V.’s
24 (“UIMBV”) Motion for Summary Judgment (“MSJ”) against
25 Plaintiff Overrated Productions, Inc. (“Overrated”),
26       WHEREAS, on March 24, 2020, this Court GRANTED [72]
27 UIMBV’s Motion for Attorneys’ Fees (“Attorneys’ Fees
28 Motion”) and request to amend its Judgment to include
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 1 Dennis Lambert as a judgment debtor,
 2       WHEREAS, on March 24, 2020, this Court entered an
 3 Amended Judgment [73] in favor of UIMBV and against
 4 Overrated and Dennis Lambert in the amount of
 5 $358,291.00,
 6       WHEREAS, on July 20, 2021, the Ninth Circuit Court
 7 of Appeals affirmed [79] both of this Court’s rulings
 8 granting UIMBV’s MSJ and UIMBV’s Attorneys’ Fees
 9 Motion,
10       WHEREAS, on October 18, 2021, the Ninth Circuit
11 Court of Appeals granted [82] UIMBV’s motion for
12 attorneys’ fees on appeal in the amount of $59,522.00,
13       IT IS HEREBY ORDERED, ADJUDGED, and DECREED that
14 the Amended Judgment entered on March, 24, 2020 [73] is
15 further amended as follows:
16 1.    Judgment is entered in favor of UIMBV as to the
17       Breach of Contract and Accounting claims, in
18       accordance with this Court’s previous Order
19       granting UIMBV’s Motion for Summary Judgment;
20 2.    In accordance with this Court’s Order granting
21       UIMBV’s Motion for Attorneys’ Fees, Dennis Lambert
22       is added to this Action as a judgment debtor;
23 3.    Plaintiff Overrated and Judgment Debtor Dennis
24       Lambert shall be jointly and severally liable for
25       all claims for relief in this Action;
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 1 4.    UIMBV is awarded attorneys’ fees in the amount of
 2       $417,813 for the fees incurred in litigating this
 3       Action both in this Court and on appeal;
 4       As no defendants remain, the Clerk shall close this
 5 matter.
 6
 7 IT IS SO ORDERED.
 8
 9 DATED: November 23, 2021                   /s/ Ronald S.W. Lew
10                                          HONORABLE RONALD S.W. LEW
                                            Senior U.S. District Judge
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